                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                               CENTRAL DIVISION

UNITED STATES OF AMERICA,                   )
                                            )
                      Plaintiff,            )
                                            )
v.                                          )       Case No. 2:21-CR-04025-BCW
                                            )
TAVION RESHOND JONES,                       )
                                            )
                      Defendant.            )

                                            ORDER

       Before the Court is Magistrate Judge Epps’ Report and Recommendation (Doc. #34)

denying Defendant Jones’s Motion to Suppress Evidence (Doc. #18). The Government filed a

response to the motion to suppress (Doc. #24). The court held a hearing on the matter on August

26, 2021. (Doc. #31). With leave of court, the Defendant and Government filed supplemental

briefing. (Docs. #32, 33). After an independent review of the record, the applicable law, and the

parties’ arguments, the Court adopts Magistrate Judge Epps’ findings of fact and conclusions of

law. Accordingly, it is hereby

       ORDERED for the reasons stated in the Report and Recommendation (Doc. #34),

Defendant’s Motion to Suppress Evidence (Doc. #18) is DENIED. It is further

       ORDERED that Magistrate Judge Epps’ Report and Recommendation be attached to and

made part of this Order.

       IT IS SO ORDERED.


DATED: October 6, 2021                              /s/ Brian C. Wimes
                                                    JUDGE BRIAN C. WIMES
                                                    UNITED STATES DISTRICT COURT




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